USDC IN/ND case 1:25-cv-00239-HAB-SLC   document 8-4   filed 05/21/25   page 1 of 4




               EXHIBIT 2
USDC IN/ND case 1:25-cv-00239-HAB-SLC          document 8-4      filed 05/21/25   page 2 of 4




                                  PRESS RELEASE:
                      Black Pine Animal Sanctuary Denounces
              “Tiger King” Pleas for Formally-Owned Tiger’s Healthcare
                                DATED: May 16, 2025

 In 2020, the world was captivated by the Netflix show “Tiger King” featuring a man
 known as Joe Exotic. In 2021, the Department of Justice seized the animals, then in Jeff
 and Lauren Lowe’s custody, for terrible and illegal conditions. Black Pine Animal
 Sanctuary took over custody in early 2022 of four tigers - providing appropriate and
 compassionate medical, behavioral and enrichment programs for these residents,
 tailored to each of their needs, which are quite complex due to their breeding and the
 living conditions in their early years of life. Joe Exotic is in federal prison after being
 convicted and sentenced to 22 years on 17 federal charges of animal abuse and two
 counts of attempted murder for hire.

 Joe Exotic's latest legal move, targeting Black Pine Animal Sanctuary over white Bengal
 tiger, Elvis, raises questions about ethics and animal rights. While Exotic defends his
 breeding practices, the sanctuary emphasizes the need for stricter laws when it comes
 to exotic animal ownership and breeding.

 The tigers, now owned by Black Pine Animal Sanctuary, present an array of medical
 concerns. The Sanctuary is hosting a weekend of dental care this weekend for some of
 their biggest residents. In an attempt to avoid putting Elvis under anesthesia twice, it
 was decided he would be neutered at the time of his dental and thorough physical
 exam.

 Spaying and neutering of big cats in sanctuary care is commonly accepted best
 practice and is performed by and under the guidance and supervision of qualified
 veterinarians. True sanctuaries which provide lifetime care do not breed the
 animals in their care. These procedures also offer many health benefits to the
 animals, such as lower rates of cancer, a better quality of life mentally and
 emotionally, and ultimately, studies show that these big cats will live longer.
USDC IN/ND case 1:25-cv-00239-HAB-SLC          document 8-4      filed 05/21/25   page 3 of 4


 Black Pine Animal Sanctuary does not buy, sell, breed, trade, or use animals for
 commercial purposes. Residents include big cats, bears, monkeys, birds, reptiles and
 more.

 Black Pine Animal Sanctuary is a Global Federation of Animal Sanctuary accredited
 campus - obtained for their significant and trusted programs to improve the quality of life
 for their 70+ residents, for the REST of their lives.

 The exotic pet industry is a $40B industry worldwide. Once these animals become
 mature, they are likely euthanized or rehomed at Sanctuaries as they are not
 appropriate as “pets” due to aggression and natural behaviors. Sanctuaries like Black
 Pine only exist due to human-led breeding and purchasing of these poor animals.

 Humane World for Animals (Formerly, The Humane Society of the United States) says,
 “Everyone who cares about the fate of animals exploited by the animal entertainment
 and exhibition industries has a debt of gratitude to Black Pine Animal Sanctuary and
 other accredited sanctuaries,” said Samantha Chapman, Indiana state director for
 Humane World for Animals, formerly called the Humane Society of the United States.
 “After these sensitive, complex creatures no longer generate a profit for greed-driven
 exhibitors or are seized from bad actors, accredited sanctuaries like Black Pine step in
 to provide emergency shelter, critical veterinary care, and appropriate, enriched
 environments in which wild animals can live in peace and safety, the very thing they
 have always needed and deserved.”

 Due to the recent challenges from Exotic’s legal representative, Elvis will not receive the
 medical care he needs as planned this weekend - the procedure has now been
 postponed until a future date. This is not indicative of a violation of any animal welfare
 acts but a mere attempt to save precious donor dollars. As a non-profit, Black Pine
 chooses to focus the organization’s resources on animal care. Our donors trust us to
 use their gifts to provide our animal residents with the REST of their lives. Having
 resources tied up in publicity-stunt legal battles only continues to take away from
 animals who have always deserved better.

 Black Pine encourages donations to be made at bpsanctuary.org in order to provide
 excellent medical, behavioral and environmental care for their residents.


 MISSION:
 Black Pine Animal Sanctuary exists to provide a refuge to captive-raised exotic animals
 while educating, advocating, and building awareness about animal welfare.
USDC IN/ND case 1:25-cv-00239-HAB-SLC         document 8-4     filed 05/21/25   page 4 of 4




 MORE QUESTIONS?
 Director of Development, Melissa Osborn, melissa@blackpine.org or 260.318.1546.

 LOCATION
 Black Pine Animal Sanctuary is located at 1426 W. Main St., Albion, IN 46701. It
 opened for the season May 2, 2025.

 Learn more about the sanctuary at www.bpsanctuary.org.
